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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CITIZENS UNITED AND           )
DAILY CALLER NEWS             )
FOUNDATION                    )
                Plaintiffs,   )
                              )                Civ. A. No. 1:20-cv-00974 (CKK)
      v.                      )
                              )
U.S. DEPARTMENT OF JUSTICE, )
                              )
                  Defendant.  )
______________________________)

                              TENTH JOINT STATUS REPORT

       In accordance with the Parties’ Ninth Joint Status Report, dated July 21, 2021, ECF No.

16, in this Freedom of Information Act (“FOIA”) litigation, the parties report as follows:

       1.       This is a FOIA case in which Plaintiffs Citizens United and Daily Caller News

Foundation (“Plaintiffs”), seek records from the U.S. Department of Justice’s (“DOJ”) Office of

the Inspector General (“OIG”) pertaining to what Plaintiffs allege was “the Department of Justice

Inspector General’s Investigation entitled ‘Review of Four FISA Applications and Other Aspects

of the FBI’s Crossfire Hurricane Investigation.’” Compl. ¶ 7, ECF No. 1.

       2.       Plaintiffs’ Complaint describes their FOIA request as seeking the following

records:

       All interview transcripts, interview summaries, interview notes and/or FBI 302s
       generated as a result of investigative interviews of the following individuals in the
       course of the Department of Justice Inspector General’s investigation entitled
       ‘Review of Four FISA Applications and Other Aspects of the FBI’s Crossfire
       Hurricane Investigation.’

       •     James Comey; Loretta Lynch; Sally Yates; Dana Boente; Andrew McCabe;
             Rod Rosenstein; James Baker; Bruce Ohr; Nellie Ohr; Christopher Steele; Peter
             Strzok; Lisa Page; Bill Priestap; Katheen Kavalec; Andrew Weissmann; Zainab
             Ahmad; Bruce Swartz; Stuart Evans; Michael Atkinson; John Carlin; Mary
             McCord; George Toscas; David Laufman; James Rybicki; Michael Kortan;

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              Case Agent 1; and Handling Agent 1.

Compl. ¶ 7, ECF No. 1.

       3.        In the Parties’ first JSR, filed on June 19, 2020, see ECF No. 8, OIG reported that

all of the documents potentially responsive to Plaintiffs’ request are maintained on a classified

system(s) and can only be reviewed in a Sensitive Compartmented Information Facility (“SCIF”)

in OIG’s offices. In response to the COVID-19 crisis, OIG went into a maximum telework posture

and only authorized personnel to go to the office to perform mission critical functions. OIG did,

however, approve a single OIG non-attorney staff member already authorized to work in the SCIF

to collect and disseminate potentially responsive material either for (1) referral to the relevant

components for processing (in the case of material generated by a component other than the OIG),

or (2) for sensitivity/classification review (i.e., “consultation,” in the case of OIG-generated

material).

       4.        On October 30, 2020, OIG sent the FBI 33 potentially responsive interview

transcripts for consultation; OIG sent the FBI an additional 5 interview transcripts for consultation

on November 16, 2020. The FBI informed OIG that it would not be able to begin reviewing the

materials until the beginning of February 2021 due to the backlog resulting from, among other

things, the COVID-19 crisis. The FBI has begun its review of approximately 5,300 pages of

interview transcripts. In the parties’ Eighth JSR, ECF No. 15, OIG reported that the FBI had

agreed to use its best efforts to return approximately 500 pages per month to OIG for further

processing, beginning on July 16, 2021. OIG further noted that given the classified nature of the

material, the FBI might not achieve 500 pages per month. The FBI provided OIG with 395 pages

of material on July 30, 2021. The FBI provided OIG with 342 pages of material on August 19,

2021. OIG has determined that it has the capacity process 150 pages a month, and will use its best



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efforts to do so on a monthly basis, with its first processing deadline occurring on September 30,

2021.

        5.       With respect to the existence of any potentially responsive interview summaries or

notes, on January 12, 2021, OIG sent 41 pdf files containing approximately 1,000 pages of

potentially responsive records to the FBI for consultation/sensitivity review. The FBI will begin

its review of these records once it has finished its consultation regarding the approximately 5,300

pages referenced in paragraph 5, above. Once OIG begins to receive the material, it will assess its

ability to process it and on what schedule.

        6.       The OIG previously identified 5 additional transcripts and an additional 4 sets of

notes that could not be sent electronically because of their level of classification. OIG initially

scheduled a delivery date of February 5, 2021 to provide these materials to the FBI. But after

further discussions with the FBI, OIG determined that it would be most efficient to have another

third-party agency conduct a sensitivity review in the first instance. OIG has since provided the

third-party agency with the material, and was informed that the materials would be returned to

OIG by this month (i.e., September, 2021). OIG will contact the third-party agency again for a

more specific date if OIG does not receive the materials by the end of this month.

        7.       Finally, OIG has not identified any FBI 302s in its possession that were generated

by OIG as a result of OIG’s investigative interviews in the course of the investigation identified in

the request.

        8.       At this time, Defendant does not believe an Open America motion is likely. The

Parties believe that it is premature to propose a summary judgment briefing schedule.

        9.       The Parties agree to report to the Court on their progress on November 19, 2021.




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DATE: September 21, 2021           Respectfully submitted,


                                   /s/ Jeremiah L. Morgan
                                   Jeremiah L. Morgan
                                   (D.C. Bar No. 1012943)
                                   Robert J. Olson
                                   (D.C. Bar No. 1029318)
                                   William J. Olson
                                   (D.C. Bar No. 233833)
                                   William J. Olson, P.C.
                                   370 Maple Avenue West, Suite 4
                                   Vienna, VA 22180-5615
                                   703-356-5070 (telephone)
                                   703-356-5085 (fax)
                                   wjo@mindspring.com (e-mail)

                                   Counsel for Plaintiffs

                                   BRIAN M. BOYNTON
                                   Acting Assistant Attorney General

                                   ELIZABETH J. SHAPIRO
                                   Deputy Director, Federal Programs

                                   /s/ Jonathan D. Kossak
                                   JONATHAN D. KOSSAK
                                   Trial Attorney (DC Bar # 991478)
                                   United States Department of Justice
                                   Civil Division, Federal Programs Branch
                                   1100 L Street, NW
                                   Washington, D.C. 20005
                                   Tel. (202) 305-0612; Fax (202) 616-8470
                                   Email: jonathan.kossak@usdoj.gov

                                   Counsel for Defendant




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